446 F.2d 50
    Lawrence J. ROUSSELLE, Jr., Plaintiff-Appellant,v.Leander H. PEREZ, Jr., et al., Defendants-Appellees.No. 71-1075 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    July 7, 1971.
    
      Benjamin E. Smith, Smith &amp; Scheuermann, New Orleans, La., for plaintiff-appellant.
      Preston H. Hufft, Chalmette, La., on brief for defendants-appellees.
      ORDER DISMISSING APPEAL
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
    
    
      1
      It being plainly obvious that this Court is without jurisdiction of this appeal, we, sua sponte, order the same dismissed.
    
    
      2
      Dismissed.
    
    